                                                                       Case 2:10-cr-00633-SRC             Document 116   Filed 07/14/11   Page 1 of 1 PageID: 786




                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERESY


    UNITED STATES OF AMERICA. :                   Criminal No: 2:1 0-cr-00633-SRC

                   Plaintiff.
             V.


    ZBIGNIEW CICHY,                       :       ORDER

                   Defendant.




            THIS MATTER having been opened to the Court by Howard B. Brownstein, Attorney for
    Zbigniew Cichy asking for an Order amending the defendant’s bail status by allowing Mr. Cichy to
    be permitted to leave his house Wednesday, July 13, 2011 for 1 hour in the morning and 1 hour in
    the afternoon to drop off and retrieve his car for repair at All Season Automotive, 474 US Highway
    46, BeLvidere, NJ (908) 474-1725 in order for Mr. Cichy to have transportation to meet with his
    attorney and for necessary Couppearances, Matthew Beck, AUSA having no objection, and for
    good cause shown;
            ITlSonthis    / S day of                           ,2011
            ORDERED that Ms. Cichy tØermittd to leave his house for 1 hour in the morning and 1
    hour in the afternoon time to be dissed and agreed upon with Pretrial Services in order to take his
    car for repair at All Season Automotive, 474 US Highway 46, Belvidere, NJ (908)474-1725; and it
    is further
            ORDERED that if Mr. Cichy will need more time he is to contact Pretrial Services
    immediately to make them aware; and it is further
            ORDERED all other conditions of bail will remain the same.


                                                                        ....




                                                     -TAI&EY R. CHFRU.S.D.J.




I
